     Case 2:19-cr-00282-RGK Document 64 Filed 10/07/19 Page 1 of 4 Page ID #:297



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     EDDIE A. JAUREGUI (Cal. Bar No. 297986)
 4   ROGER A. HSIEH (Cal. Bar No. 294195)
     Assistant United States Attorneys
 5   Major Frauds Section
          1100 United States Courthouse
 6        312 North Spring Street
          Los Angeles, California 90012
 7        Telephone: (213) 894-4849/0600
          Facsimile: (213) 894-6269
 8        E-mail:    eddie.jauregui@usdoj.gov
                     roger.hsieh@usdoj.gov
 9   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,                  No. CR 19-282-RGK

14             Plaintiff,                       [PROPOSED] ORDER ISSUING CIVIL
                                                CONTEMPT SANCTIONS TO DEFENDANTS
15                   v.                         FOR FAILURE TO APPEAR AT INITIAL
                                                APPEARANCE
16   ZHONGTIAN LIU ET AL.,

17             Defendants.

18

19        Having reviewed the government’s Motion for Certification of
20   Facts and Issuance of an Order to Show Cause and the evidence
21   submitted in connection with the Motion (Dkts. 52-53), the Magistrate
22   Court’s Order and Certification of Facts (Dkt. 55), the government’s
23   Brief Regarding Service and exhibits thereto (Dkt. 60), the
24   government’s update to the Brief Regarding Service and exhibits
25   thereto (Dkt. 61), and having presided over the Order to Show Cause
26   Hearings in this matter on September 12, 2019, and October 3, 2019,
27   the COURT HEREBY FINDS:
28
                                            1
     Case 2:19-cr-00282-RGK Document 64 Filed 10/07/19 Page 2 of 4 Page ID #:298



 1        1.    Defendants 1001 Doubleday LLC, Von Karman-Main Street LLC,

 2   and 10681 Production Avenue LLC (“defendants”) were properly served

 3   under Federal Rule of Criminal Procedure 4 with summonses to appear

 4   before the United States District Court to answer to an Indictment on

 5   August 26, 2019, at 2:00 p.m. at the United States Courthouse at 255

 6   E. Temple Street, Los Angeles, California, 90012.          The summonses were

 7   served on defendants via certified mail to the defendants’ registered

 8   agents for service of process.

 9        2.    None of the aforementioned defendants appeared for their

10   initial appearances at the Roybal Federal Building, 255 East Temple

11   Street, Los Angeles, California, in Courtroom 341, on August 26,

12   2019, at 2:00 p.m., notwithstanding the summonses to appear in that

13   place and on that date and time.

14        3.    On September 4, 2019, the government filed a motion for

15   certification of facts and issuance of an order to show cause. (Dkts.

16   52-53.)

17        4.    On September 9, 2019, the Magistrate Court ordered

18   defendants to show cause in writing why they should not be adjudged

19   in contempt by 12:00 p.m. on September 11, 2019, and appear before

20   the District Court at 10:00 a.m. on September 12, 2019, for a show

21   cause hearing.    (Dkt. 55.)

22        5.    The government served the Magistrate Court’s order (Dkt.

23   55) by mailing it to defendants’ registered agent for service of

24   process on September 9, 2019, and Federal Express records reflect

25   that defendants were not available or the businesses were closed.

26        6.    Defendants did not appear at the September 12, 2019, show

27   cause hearing.    The Court then continued the show cause hearing for

28   defendants to October 3, 2019.      (Dkt. 57.)
     Case 2:19-cr-00282-RGK Document 64 Filed 10/07/19 Page 3 of 4 Page ID #:299



 1        7.      The government served the Magistrate Court’s order (Dkt.

 2   55) and notice of the continued October 3, 2019, show cause hearing

 3   date by mailing the documents to defendants’ last known business

 4   address and the address for defendants’ registered agent for service

 5   of process on September 19, 2019, via certified mail.          The Magistrate

 6   Court’s order and notice of the continued October 3, 2019, show cause

 7   hearing date were delivered to defendants: (1) on September 23, 2019,

 8   at their last known business address; and (2) on October 1, 2019, to

 9   the address for their registered agent for service of process.

10        8.      To date, defendants have failed to state in writing why

11   they should not be adjudged in contempt, and they failed to appear at

12   the September 12, 2019, and October 3, 2019, show cause hearings.

13        9.      The government has shown by clear and convincing evidence

14   that defendants have violated a court order by failing to appear for

15   their initial appearances.

16        Accordingly, the COURT HEREBY ORDERS:

17        1.      Defendants shall each pay a civil contempt sanction of

18   $2000 per calendar day, payable to the Court, until defendants

19   schedule and appear before the Court for arraignment on the

20   Indictment.

21        2.      The civil contempt sanctions against defendants shall start

22   to accrue two calendars days after the date of entry of this Order.

23        3.      If defendants have not scheduled and appeared before the

24   Court for arraignment on the Indictment four weeks after the civil

25   contempt sanctions ordered herein have begun to accrue, the civil

26   contempt sanctions shall increase to $4000 per calendar day for each

27   defendant.

28
     Case 2:19-cr-00282-RGK Document 64 Filed 10/07/19 Page 4 of 4 Page ID #:300



 1        4.    The government may petition the Court for interim judgments

 2   reflecting the accrued sanctions to be due, payable, and subject to

 3   immediate collection upon entry of such interim judgments.

 4        5.    The government may petition the Court to increase the daily

 5   civil contempt sanction for each defendant if the fine ordered is not

 6   sufficiently coercive to obtain defendants’ compliance with their

 7   obligations to schedule and appear for their arraignments on the

 8   Indictment.

 9        IT IS SO ORDERED.

10

11
     October 7, 2019
12   DATE                                   HONORABLE R. GARY KLAUSNER
                                            UNITED STATES DISTRICT JUDGE
13
     Presented by:
14
          /s/
15   ROGER A. HSIEH
     Assistant United States Attorney
16

17

18

19

20

21

22

23

24

25

26

27

28
